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 WEIL, GOTSHAL & MANGES LLP
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 Ray C. Schrock, P.C.
 Jacqueline Marcus
 Garrett A. Fail
 Sunny Singh

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x
 In re                                                             :
                                                                   :      Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                               :
                                                                   :      Case No. 18-23538 (RDD)
                                                                   :
                    Debtors.1                                      :      (Jointly Administered)
 ------------------------------------------------------------------x

           SUMMARY SHEET FOR FIRST APPLICATION OF WEIL, GOTSHAL
            & MANGES LLP, AS ATTORNEYS FOR DEBTORS, FOR INTERIM
     ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
      AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED
       FROM OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019


 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
      Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
      (6774); SHC Licensed Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC
      (0205); A&E Lawn & Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537);
      Innovel Solutions, Inc. (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022);
      Sears Development Co. (6028); Sears Holdings Management Corporation (2148); Sears Home & Business
      Franchises, Inc. (6742); Sears Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C.
      (7182); Sears Procurement Services, Inc. (2859); Sears Protection Company (1250); Sears Protection Company
      (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW
      Relay LLC (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida
      Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc.
      (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington
      LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531);
      Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears
      Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest,
      LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034);
      Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands
      Management Corporation (5365); and SRe Holding Corporation (4816). The location of the Debtors’ corporate
      headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.


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 General Information
 Name of Applicant:                                  Weil, Gotshal & Manges LLP

 Authorized to Provide Services For:                 Counsel to the Above-Captioned
                                                     Debtors and Debtors in Possession

 Commencement Date:                                  October 15, 2018

 Retention Date:                                     November 9, 2018 nunc pro tunc to
                                                     October 15, 2018

 Prior Applications:                                 None


 Time Period Covered by This Application:            October 15, 2018 through and
                                                     including February 28, 2019
                                                     (the “Compensation Period”)

 Summary of Fees and Expenses Requested for Compensation Period

 Amount of Fees Sought as Actual, Reasonable, and
 Necessary for the Compensation Period:                      $40,705,193.75

 Amount of Expense Reimbursement Sought As Actual,
 Reasonable, and Necessary for the Compensation Period:      $1,572,862.82

 Total Fees and Expenses Requested for the Compensation
 Period:                                                     $42,278,056.57

 Total Fees and Expenses Allowed Pursuant to Prior Applications

 Total Allowed Fees Paid to Date:                            N/A

 Total Allowed Expenses Paid to Date:                        N/A

 Total Allowed Fees and Expenses Paid to Date:
                                                             N/A
 Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements

 Fees Sought for this Compensation Period Already Paid
 Pursuant to Monthly Compensation Order But Not Yet          $18,148,405.00
 Allowed:




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 Expenses Sought for this Compensation Period Already
 Paid Pursuant to Monthly Compensation Order But Not
                                                                   $835,443.41
 Yet Allowed:

 Total Fees and Expenses Sought for this Compensation
 Period Already Paid Pursuant to Monthly Compensation
 Order But Not Yet Allowed:                                        $18,983,848.41

 Total Fees and Expenses Sought for this Compensation
 Period Not Yet Paid:                                              $23,294,208.16

 Summary of Rates and Other Related Information for this Compensation Period

 Blended Rate in This Application for All Attorneys:               $962.24

 Blended Rate in This Application for All Timekeepers:
                                                                   $897.03

 Number of Timekeepers Included in This Application:               193 (154 Attorneys; 39
                                                                   Paraprofessionals and Other
                                                                   Non-Legal Staff)
 Number of Attorneys in this Application Not Included in
 Staffing Plan Discussed with Client:                              N/A

 Difference Between Fees Budgeted and Compensation                 Fees were less than
 Sought for this Period:                                           budgeted amount.

 Number of Attorneys Billing Fewer than 15 Hours to the
 Case During the Compensation Period:                              19

 Increase in Rates Since Date of Retention:                        None



 This is a(n):          X       interim _____ final application.




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                                          SUMMARY OF PRIOR MONTHLY FEE STATEMENTS


                                                            First Interim Fee Application

                                                                       Total Amount Previously
                                   Total Compensation and Expenses                                                                   Holdback Fees
                                                                     Requested with Prior Monthly      Total Amount Paid to Date
Date Filed and          Period       Incurred for Period Covered                                                                      Requested
                                                                            Fee Statement
  ECF No.              Covered
                                                                          Fees           Expenses         Fees          Expenses         Fees
                                       Fees           Expenses
                                                                        (@ 80%)         (@ 100%)        (@ 80%)        (@ 100%)        (@ 20%)
                     October 15,
 12/07/2018         2018 through
                                   $4,985,205.00     $158,776.83      $3,988,164.00    $158,776.83    $3,988,164.00    $158,776.83    $997,041.00
ECF No. 1101         October 31,
                        2018
                    November 1,
 1/18/2019          2018 through
                                   $10,048,818.00    $161,395.00      $8,039,054.40    $161,395.00    $8,039,054.40    $161,395.00   $2,009,763.60
ECF No. 1729        November 30,
                        2018
                    December 1,
 3/04/2019          2018 through
                                   $7,651,483.25     $515,271.58      $6,121,186.60    $515,271.58    $6,121,186.60    $515,271.58   $1,530,296.65
ECF No. 2729        December 31,
                        2018
                      January 1,
 4/08/2019          2019 through
                                   $11,292,523.75    $463,594.50      $9,034,019.00    $463,594.50        $0.00          $0.00       $2,258,504.75
ECF No. 3084         January 31,
                        2019
                     February 1,
 4/15/2019          2019 through
                                   $6,727,163.75     $273,824.91      $5,381,731.00    $273,824.91        $0.00          $0.00       $1,345,432.75
ECF No. 3197        February 28,
                        2019
Total for First
 Interim Fee                       $40,705,193.75   $1,572,862.82    $32,564,155.00   $1,572,862.82   $18,148,405.00   $835,443.41   $8,141,038.75
 Application

 Summary of Any Objections to Monthly Fee Statements: None.




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                                   COMPENSATION BY PROFESSIONAL
                      OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019

The attorneys who rendered professional services in these chapter 11 cases during the Compensation
Period are:

                                                                           YEAR      HOURLY          TOTAL            TOTAL
  NAME OF PROFESSIONAL                   POSITION      DEPARTMENT2                   BILLING         HOURS
                                                                         ADMITTED                                  COMPENSATION
                                                                                      RATE           BILLED

Heitner, Kenneth H.                       Partner          TAX             1974       $1,600.00       25.50            $40,800.00
Danilow, Greg A.                          Partner          CORP            1975       $1,600.00       332.90          $525,200.00
Odoner, Ellen J.                          Partner          CORP            1978       $1,600.00       527.10          $841,760.00
Bond, W. Michael                          Partner          CORP            1980       $1,600.00       727.20         $1,163,520.00
Epstein, Michael A.                       Partner          CORP            1980       $1,500.00       534.30          $801,450.00
Hoenig, Mark                              Partner          TAX             1982       $1,525.00       284.90          $434,472.50
Dixon, Catherine T.                       Partner          CORP            1982       $1,500.00        7.90            $11,850.00
Marcus, Jacqueline                        Partner          BFR             1983       $1,375.00       942.90         $1,291,331.25
Goldring, Stuart J.                       Partner          TAX             1984       $1,600.00       224.60          $359,360.00
Wessel, Paul J.                           Partner          TAX             1988       $1,600.00       283.50          $453,600.00
Connolly, Annemargaret                    Partner          CORP            1988       $1,350.00       77.40           $104,490.00
Zylberberg, Samuel M.                     Partner          CORP            1988       $1,225.00       18.50            $22,662.50
Pappas, Nicholas J.                       Partner          LIT             1989       $1,225.00       25.30            $30,992.50
Urquhart, Douglas R.                      Partner          CORP            1990       $1,450.00       186.30          $269,410.00
Chivers, Corey                            Partner          CORP            1992       $1,425.00       101.40          $144,495.00
Lender, David J.                          Partner          LIT             1994       $1,350.00       138.30          $186,705.00
Azcuy, Beatriz                            Partner          CORP            1994       $1,200.00       273.10          $327,720.00
Kronman, Ariel                            Partner          CORP            1994       $1,200.00       30.00            $36,000.00
Genender, Paul R.                         Partner          LIT             1994       $1,175.00       325.80          $382,815.00
Mastando III, John P.                     Partner          LIT             1997       $1,200.00        9.50            $11,400.00
Schrock, Ray C.                           Partner          BFR             1998       $1,550.00       929.80         $1,441,190.00
Shim, Soo-Jin                             Partner          CORP            1998       $1,350.00        4.00            $5,400.00
Ong, Henry                                Partner          CORP            1999       $1,350.00       14.20            $19,170.00
Singer, Randi W.                          Partner          LIT             1999       $1,200.00       168.30          $201,960.00
Silbert, Gregory                          Partner          LIT             2000       $1,150.00       18.50            $21,275.00
Herman, David                             Partner          CORP            2001       $1,200.00       108.00          $129,600.00
Nettleton, Stacy                          Partner          LIT             2003       $1,125.00       185.90          $209,137.50
Fail, Garrett                             Partner          BFR             2004       $1,300.00       828.70         $1,058,070.00



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              BFR – Business Finance & Restructuring; CORP – Corporate; LIT – Litigation, LSS – Litigation Support Staff.
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                                                                          YEAR     HOURLY      TOTAL         TOTAL
  NAME OF PROFESSIONAL                  POSITION      DEPARTMENT2                  BILLING     HOURS
                                                                        ADMITTED                          COMPENSATION
                                                                                    RATE       BILLED

Westerman, Gavin                         Partner          CORP            2004     $1,200.00   452.00       $542,400.00
Friedmann, Jared R.                      Partner          LIT             2004     $1,125.00   448.50       $500,287.50
Kucerik, Brianne L.                      Partner          LIT             2006     $1,200.00   145.70       $174,840.00
Singh, Sunny                             Partner          BFR             2007     $1,200.00   769.90       $922,320.00
Dahl, Ryan Preston                       Partner          BFR             2007     $1,175.00   127.60       $144,466.25
Liou, Jessica                            Partner          BFR             2009     $1,075.00   181.80       $194,467.50
Baer, Lawrence J.                        Counsel          LIT             1984     $1,050.00   258.80       $271,740.00
Nagar, Roshelle A.                       Counsel          CORP            1989     $1,050.00   167.80       $176,190.00
Margolis, Steven M.                      Counsel          TAX             1990     $1,075.00   561.70       $603,827.50
Naughton, Michael C.                     Counsel          LIT             1995     $1,050.00    64.70       $67,935.00
Meyrowitz, Melissa                       Counsel          CORP            1999     $1,050.00    37.90       $39,795.00
Shulzhenko, Oleksandr                    Counsel          CORP            2000     $1,050.00   176.90       $185,745.00
Ganchrow, Elliot                         Counsel          CORP            2001     $1,050.00     6.10        $6,405.00
Goslin, Thomas D.                        Counsel          CORP            2003     $1,050.00   151.60       $159,180.00
Brusser, Vadim M.                        Counsel          LIT             2004     $1,050.00    14.10       $14,805.00
Comer, Samuel Jason                      Counsel          CORP            2005     $1,050.00    69.80       $73,290.00
Munz, Naomi                              Counsel          CORP            2006     $1,050.00   1,018.80    $1,068,690.00
Goren, Matthew                           Counsel          BFR             2007     $1,075.00   253.90       $257,408.75
Mishkin, Jessie B.                       Counsel          LIT             2007     $1,050.00   427.90       $445,462.50
Gershowitz, Gabriel                      Counsel          CORP            2010     $1,050.00     8.50        $8,925.00
Meyrowitz, Melissa                      Associate         CORP            1999     $995.00     109.00       $108,455.00
Shulzhenko, Oleksandr                   Associate         CORP            2000     $995.00     594.20       $591,229.00
Friedman, Julie T.                      Associate         BFR             2004     $600.00     251.90       $151,140.00
Liou, Jessica                           Associate         BFR             2009     $995.00     364.00       $362,180.00
Byeff, David P.                         Associate         LIT             2009     $995.00     300.50       $290,042.50
Seales, Jannelle Marie                  Associate         CORP            2009     $995.00     976.30       $971,418.50
Arthur, Candace                         Associate         BFR             2010     $995.00     781.10       $776,199.50
Wright, Jason E.                        Associate         LIT             2010     $995.00      12.50       $12,437.50
Miller, Olivia Zimmerman                Associate         LIT             2010     $995.00     169.70       $166,811.75
Lee, Young                              Associate         CORP            2010     $995.00      12.90       $12,835.50
Loo, Qinghao Shauna                     Associate         CORP            2010     $950.00       4.90        $4,655.00
Wang, Kevin Xin                         Associate         CORP            2010     $875.00       8.80        $7,700.00
Overmyer, Paul J.                       Associate         CORP            2011     $995.00      74.00       $73,630.00
Podolsky, Anne Catherine                Associate         CORP            2011     $995.00     793.70       $789,731.50

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                                                                            YEAR     HOURLY    TOTAL         TOTAL
  NAME OF PROFESSIONAL                      POSITION    DEPARTMENT2                  BILLING   HOURS
                                                                          ADMITTED                        COMPENSATION
                                                                                      RATE     BILLED

Goltser, Jonathan                           Associate      CORP             2011     $875.00    65.20       $57,050.00
Nersesyan, Yelena                           Associate      CORP             2011     $875.00   182.60       $159,775.00
Remijan, Eric D.                            Associate      TAX              2012     $995.00   307.90       $306,360.50
Diveley Landry, Angela                      Associate       LIT             2012     $980.00   344.20       $337,316.00
Prugh, Amanda Pennington                    Associate       LIT             2012     $980.00   268.90       $263,522.00
Cunningham, Nathan                          Associate       LIT             2012     $950.00    12.50       $11,875.00
Goldinstein, Arkady                         Associate       BFR             2013     $980.00   444.10       $434,336.00
Apfel, Joshua H.                            Associate       BFR             2013     $980.00   486.70       $476,966.00
Greer, Olivia J.                            Associate       LIT             2013     $950.00    33.10       $31,445.00
Guthrie, Hayden                             Associate      CORP             2013     $950.00   710.10       $674,595.00
Rudin, Joshua N.                            Associate      CORP             2013     $920.00   202.20       $186,024.00
Leslie, Harold David                        Associate       LIT             2013     $920.00   113.80       $104,696.00
Meyer, Robert                               Associate       LIT             2014     $980.00   154.70       $151,606.00
Descovich, Kaitlin                          Associate      CORP             2014     $950.00   335.00       $318,250.00
Rosenblum, Amanda                           Associate      TAX              2014     $950.00    21.50       $20,425.00

Swette, Alexandria                          Associate       LIT             2014     $950.00   147.20       $139,840.00
Messina, Michael D.                         Associate      CORP             2014     $950.00   112.70       $107,065.00
Hwangpo, Natasha                            Associate       BFR             2014     $950.00   1,173.20    $1,102,617.50
Christoffersen-Deb, Anne-Marie              Associate      CORP             2014     $920.00    29.60       $27,232.00
Jia, Carol                                  Associate      CORP             2014     $790.00    17.80       $14,062.00
De Vuono, Christina A.                      Associate      CORP             2015     $980.00    96.00       $94,080.00
Ramsini, Larsa K.                           Associate       LIT             2015     $920.00    34.00       $31,280.00
Fitzmaurice, David                          Associate       LIT             2015     $920.00    32.90       $30,268.00
Simon, Ariel                                Associate      CORP             2015     $920.00   386.10       $353,464.00
Springer, Lauren                            Associate      CORP             2015     $920.00   325.30       $299,276.00
LePorin, Steven J.                          Associate      CORP             2015     $920.00   298.90       $274,988.00
Logan, Claire E.                            Associate      CORP             2015     $920.00    48.00       $44,160.00
Cohen, Dori Y.                              Associate       LIT             2015     $920.00   139.70       $128,524.00
Peshko, Olga F.                             Associate       BFR             2015     $920.00   668.30       $610,420.00
Crozier, Jennifer Melien Brooks             Associate       LIT             2015     $920.00   252.10       $231,932.00

Scher, Dylan                                Associate      CORP             2015     $875.00    65.90       $57,662.50
Kaneko, Erika Grace                         Associate      CORP             2015     $875.00   186.40       $163,100.00
Sytsma, Elizabeth                           Associate       LIT             2015     $875.00   134.10       $117,337.50

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                                                                        YEAR     HOURLY    TOTAL         TOTAL
  NAME OF PROFESSIONAL                  POSITION    DEPARTMENT2                  BILLING   HOURS
                                                                      ADMITTED                        COMPENSATION
                                                                                  RATE     BILLED

Yiu, Vincent Chanhong                   Associate       BFR             2016     $875.00   525.80       $460,075.00
Sadon, Joseph S.                        Associate      CORP             2016     $875.00    85.50       $74,812.50
Kirsztajn, Daniela H.                   Associate       LIT             2016     $875.00   264.00       $225,793.75
Woodford, Andrew                        Associate      CORP             2016     $875.00   265.10       $231,962.50
Miller, Jeri Leigh                      Associate       BFR             2016     $790.00   414.70       $316,632.00
Rutherford, Jake Ryan                   Associate       LIT             2016     $790.00   304.50       $234,314.00
Ho, Carolyn                             Associate      CORP             2016     $560.00     4.00        $2,240.00
Van Groll, Paloma                       Associate       BFR             2017     $875.00   1,076.90     $933,668.75
Cohen, Francesca                        Associate      CORP             2017     $875.00   553.50       $484,312.50
Podzius, Bryan R.                       Associate       BFR             2017     $875.00   406.40       $350,700.00
Satterfield, Kyle Roland                Associate       BFR             2017     $790.00   112.40       $87,887.50
Skrzynski, Matthew                      Associate       BFR             2017     $790.00   1,078.30     $849,684.50
Taylor, Zachary R.                      Associate       LIT             2017     $790.00    51.00       $40,290.00
Hill, David F.                          Associate       LIT             2017     $790.00   183.70       $145,123.00
Tesoriero, Lucas F.                     Associate       LIT             2017     $790.00    70.70       $55,853.00

Mishra, Akansha                         Associate       LIT             2017     $790.00   261.60       $206,664.00
Jaikaran, Elizabeth Shanaz              Associate      CORP             2017     $790.00   210.10       $165,979.00
Holt, Andrew                            Associate      CORP             2017     $790.00     9.70        $7,663.00
Dougherty, Taylor Bridget               Associate       LIT             2017     $790.00    12.70       $10,033.00
Cho, Joon                               Associate       LIT             2017     $790.00   192.30       $151,917.00
Soso, Daniel                            Associate      CORP             2017     $690.00   140.70       $97,083.00
Lee, Hoi Yee Julia                      Associate      CORP             2017     $690.00    14.80       $10,212.00
Palkovic, Beth                          Associate      CORP             2018     $790.00    34.40       $27,176.00
Bednarczyk, Meggin                      Associate      CORP             2018     $690.00   492.40       $339,756.00
Bui, Phong T.                           Associate      CORP             2018     $690.00   296.20       $204,378.00
Harris, Jenna                           Associate       LIT             2018     $690.00   119.60       $82,524.00
Hulsey, Sam                             Associate      CORP             2018     $690.00   323.20       $223,008.00
Knowlton, Whitney N.                    Associate       LIT             2018     $690.00   322.50       $222,525.00
Lau, Jennifer                           Associate       LIT             2018     $690.00   244.80       $168,912.00
Lopatka, Thaddeus                       Associate       LIT             2018     $690.00    42.60       $29,394.00

Namerow, Derek                          Associate      CORP             2018     $690.00   546.80       $377,292.00
Neuhauser, David                        Associate      CORP             2018     $690.00   140.10       $96,669.00
Shub, Lorraine                          Associate      TAX              2018     $690.00   137.50       $94,875.00

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                                                                        YEAR     HOURLY    TOTAL          TOTAL
  NAME OF PROFESSIONAL                  POSITION    DEPARTMENT2                  BILLING   HOURS
                                                                      ADMITTED                         COMPENSATION
                                                                                  RATE     BILLED

Warhit, Alyson                          Associate       LIT             2018     $690.00    22.50        $15,525.00
Diktaban, Catherine Allyn               Associate       BFR             2018     $690.00   1,080.20      $603,708.00
Gordan, Anna C.                         Associate       LIT             2018     $690.00    75.90        $52,371.00
Linneman, Michael A.                    Associate       LIT             2018     $690.00    232.00       $160,080.00
Rios, Daniel                            Associate      TAX              2018     $690.00    12.60         $8,694.00
Hwang, Angeline Joong-Hui               Associate       BFR             2018     $690.00    669.00       $458,850.00
Richards, Lauren E.                     Associate       LIT             2018     $690.00    56.10        $38,709.00
Christian, John Reed                    Associate       LIT             2018     $560.00    55.20        $30,912.00
Perry, Shelby Taylor                    Associate       LIT             2018     $560.00    111.70       $62,552.00
Godio, Joseph C.                        Associate      CORP             2019     $690.00    451.40       $311,466.00
Ikram, Maliha                           Associate      TAX              2019     $560.00     9.10         $5,096.00
Richards, Daniel Spencer                Associate      CORP             2019     $560.00    35.90        $20,104.00
Batis, Theodore                         Associate      CORP             2019     $560.00    170.40       $95,424.00
Montalto, Nathan James                  Associate       LIT             2019     $560.00    189.40       $106,064.00
Barron, Shira                           Associate      CORP             2019     $560.00    355.70       $199,192.00

Allison, Elisabeth M.                   Associate      TAX               *       $690.00    117.20       $80,868.00
Kelly, Daniel Robert                    Associate      CORP              *       $560.00    126.00       $70,560.00
Miranda, Graciany                       Associate      CORP              *       $560.00    279.30       $156,408.00
Shiarella, Ripley                       Associate       LIT              *       $560.00    45.90        $25,704.00
Gitlin, Adam                            Associate       LIT              *       $560.00    14.90         $8,344.00
Thompson, Maryann                       Associate      CORP              *       $560.00    196.20       $109,872.00
Ungerer, Frank                          Associate       LIT              *       $560.00    38.50        $21,560.00
Weiss, Zander                           Associate       LIT              *       $560.00    34.80        $19,488.00
DiDonato, Philip                        Associate       BFR              *       $560.00    877.70       $489,384.00
Wands, Lauren                           Associate       LIT              *       $560.00    92.50        $51,800.00
Rasani, Amama                           Associate       LIT              *       $560.00    127.00       $71,120.00
Lewitt, Alexander G.                    Associate       BFR              *       $560.00    617.10       $345,156.00
Zavagno, Michael                        Associate      CORP              *       $560.00    211.60       $118,496.00
O'Muiri, Conor                          Associate      CORP              *       $560.00    305.30       $170,968.00

Attorney Total                                                                             40,511.60    $38,981,916.00




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 The paraprofessionals and other non-legal staff who rendered professional services in these
 chapter 11 cases during the Compensation Period are:

          NAME OF                                     HOURLY       TOTAL
   PARAPROFESSIONALS AND                                                            TOTAL
                                    DEPARTMENT        BILLING      HOURS
   OTHER NON-LEGAL STAFF                                                         COMPENSATION
                                                       RATE        BILLED

 Lee, Kathleen                          BFR           $420.00       179.50           $75,390.00

 Stauble, Christopher A.                BFR           $405.00       487.10          $197,275.50
 Postiglione, Generosa                   LIT          $405.00        20.50           $8,302.50

 Wong, Sandra                            LIT          $405.00        63.20           $25,596.00
 Marquez, Francheska                    CORP          $405.00        94.90           $38,434.50

 Reyes, Yahayra                         CORP          $405.00       330.70          $133,933.50

 Grant, Keri                            CORP          $405.00       853.50          $345,667.50

 Arias, Juan C.                         CORP          $405.00       122.10           $49,450.50

 Hoilett, Leason                         LIT          $385.00       318.30          $122,545.50

 Ellsworth, John A.                     CORP          $385.00       248.40           $95,634.00

 Malcolm, Patrice                       CORP          $385.00        31.00           $11,935.00

 Haiken, Lauren C.                      LSS           $380.00       105.70           $40,166.00

 Fabsik, Paul                           BFR           $375.00       184.50           $69,187.50

 Olson, Eric John                       CORP          $375.00        24.00           $9,000.00

 Jones, Peggy J.                        CORP          $375.00         9.70           $3,637.50

 Mosin, Olga                            LSS           $360.00         8.30           $2,988.00

 Chan, Herbert                           LIT          $355.00        28.20           $10,011.00

 Olvera, Rene A.                        BFR           $355.00        12.70           $4,508.50

 Morris, Sharron                         LIT          $355.00       161.40           $57,297.00

 Gilmartin, Justin                      CORP          $355.00       159.30           $56,551.50
 Cameau, Elayne J.                       LIT          $355.00        37.30           $13,241.50

 Dang, Thai                             LSS           $345.00         6.50           $2,242.50
 Nudelman, Peter                        LSS           $345.00        15.40           $5,313.00

 Robin, Artur                           LSS           $345.00        20.10           $6,934.50
 Chavez, Miguel                         LSS           $330.00        19.20           $6,336.00
 Aaron-Betton, Merlyn                   CORP          $330.00       114.60           $37,818.00
 Mo, Suihua                             LSS           $330.00        18.00           $5,940.00

 Bogota, Alejandro                      LSS           $330.00        11.50           $3,795.00
 Hahn, Winfield                          LIT          $255.00        65.40           $15,950.25
 Petrick, Hailey Burton                 CORP          $255.00        38.10           $9,715.50
 Meyer, Natalie                          LIT          $240.00         7.00           $1,680.00
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                 NAME OF                                                HOURLY       TOTAL
          PARAPROFESSIONALS AND                                                                    TOTAL
                                                   DEPARTMENT           BILLING      HOURS
          OTHER NON-LEGAL STAFF                                                                 COMPENSATION
                                                                         RATE        BILLED

        Harrison, Greer                              CORP               $240.00        21.80       $5,232.00
        Keschner, Jason                               BFR               $240.00        69.00      $16,560.00
        Peene, Travis J.                              BFR               $240.00       189.90      $45,576.00
        Kleissler, Matthew                            BFR               $240.00       161.90      $38,856.00
        Simataa, Mwangala                            CORP               $240.00        84.80      $20,352.00
        Zaslav, Benjamin                              BFR               $240.00       512.10      $122,904.00
        Schimmel, Kelsea                             CORP               $240.00        21.00       $5,040.00
        Solomon, Kaila                               CORP               $240.00        9.50        $2,280.00
        Paraprofessional and other Non-
                                                                                     4,866.10    $1,723,277.75
        Legal Staff Total

        The total fees for the Compensation Period are:

                                                                                  TOTAL HOURS         TOTAL
                   PROFESSIONALS                        BLENDED RATE
                                                                                    BILLED         COMPENSATION
Partners and Counsel (48)                                   $1,292.34               12,677.80        $16,384,016.25
Associates (106)                                            $811.89                 27,833.80        $22,597,899.75
Paraprofessionals and Other Non-Legal Staff (39)            $354.14                 4,866.10          $1,723,277.75

Blended Attorney Rate                                       $962.24

Blended Rate for All Timekeepers                            $897.03
Total Fees Incurred:                                                                45,377.70        $40,705,193.75




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                        COMPENSATION BY PROJECT CATEGORY
               OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019

                                                                                   TOTAL HOURS          AMOUNT
TASK CODE      PROJECT CATEGORY
                                                                                     BILLED
   001         Administrative Expense Claims                                           0.30               $207.00
   003         Asset Disposition/363 Asset /De Minimis Asset/Liquidation Sales       14,172.10         $13,492,950.00
   004         Automatic Stay                                                         957.70            $826,456.50
   006         Bar Date Motion/Claims Reconciliation Issues                           59.00             $39,745.50
   007         Case Administration (Docket Updates, WIP List and Case Calendar)       529.10            $337,805.50
   008         Chapter 11 Plan/Plan Confirmation                                      132.70            $139,668.50
   009         Communications with Client                                             588.40            $618,904.00
   010         Corporate Governance                                                  1,867.80          $2,019,986.50
   011         Customer, Supplier and Vendor Issues                                  1,330.20          $1,420,112.00
   013         DIP Financing/Cash Collateral/Adequate Protection/Cash Management     5,156.20          $4,094,609.00
   014         Disclosure Statement/Solicitation/Voting                               47.60             $32,010.00
   015         Employee Issues                                                       2,002.20          $2,000,090.50
   016         Exclusivity                                                            51.10             $45,396.00
   017         Executory Contracts/Lease Issues                                       141.80            $103,617.50
   018         General Case Strategy (included Team Calls)                            997.40            $964,115.50
   019         Hearings and Court Matters                                            2,014.30          $1,434,677.00
   020         Insurance and Workers Compensation Issues                              186.10            $162,590.00
   021         Non-Bankruptcy Litigation                                              76.40             $63,693.50
   022         Non-Working Travel                                                     294.60            $144,068.75
   023         Real Property Leases/Section 365 Issues /Cure Amounts                 7,079.60          $6,246,231.00
   024         Reclamation/503 (b)(9) Claims                                          168.70            $121,178.50
   025         Regulatory/Environmental Issues                                       1,010.20          $1,000,104.50
   026         Retention/Fee Application: Ordinary Course Professionals               242.60            $131,021.00
   027         Retention/Fee Application: Other Professionals                         455.10            $328,818.50
   028         Retention/Billing/Fee Applications: Weil                               356.20            $241,232.50
   029         Schedules/Statement Financial Affairs                                  515.80            $391,294.00
   031         Tax Issues                                                             965.30           $1,194,764.00
   032         Unsecured Creditor Issues/Communications/Meetings                      550.60            $493,443.00
   033         U.S. Trustee Issues/Meetings/Communications/Reports                    80.80             $69,779.50
   034         Utility Issues/Adequate Assurance                                      434.70            $305,041.50
   035         Restructuring Subcommittee Investigation                              2,656.50          $1,988,491.50
   036         Sears Re                                                               49.30             $57,704.50

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 037         KCD                                                          177.10            $163,965.00
 038         Non-Debtor Affiliates (Other)                                 5.20              $4,764.00
 039         Debt Documents/Issues                                        25.00             $26,657.50
Total:                                                                   45,377.70         $40,705,193.75




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                                 EXPENSE SUMMARY
             OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019


                  EXPENSE CATEGORY                               AMOUNT

 Duplicating                                                     $365,475.84

 Computerized Research                                           $500,759.95

 Mail/Messenger                                                   $4,561.65

 Travel                                                          $82,167.58

 Local Transportation                                            $82,913.35

 Meals                                                           $230,475.47

 Corporation Service                                             $65,385.98

 Court Reporting                                                 $51,161.05

 Consultants and Witness Fees                                    $94,001.64

 Filing Fees                                                     $91,483.31

 Translation Fees                                                 $3,720.00

 CourtCall                                                        $757.00

 Total:                                                         $1,572,862.82




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 Ray C. Schrock, P.C.
 Jacqueline Marcus
 Garrett A. Fail
 Sunny Singh

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                    :
 In re                                                              :     Chapter 11
                                                                    :
 SEARS HOLDINGS CORPORATION, et al., :                              Case No. 18-23538 (RDD)
                                                                    :
                     Debtors.1                                      :     (Jointly Administered)
                                                                    :
 ---------------------------------------------------------------x

             FIRST APPLICATION OF WEIL, GOTSHAL & MANGES LLP,
          AS ATTORNEYS FOR THE DEBTORS, FOR INTERIM ALLOWANCE
        OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
       REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED
      FROM OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816). The location of
 the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.

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 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                     Weil, Gotshal & Manges LLP (“Weil”), for its application, pursuant to sections

 330(a) and 331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2016-1 of the

 Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”), for interim

 allowance of compensation for professional services performed by Weil as attorneys for the

 above-captioned debtors and debtors in possession (the “Debtors”), for the period commencing

 October 15, 2018 (the “Commencement Date”) through and including February 28, 2019

 (the “Compensation Period”), and for reimbursement of its actual and necessary expenses

 incurred during the Compensation Period, respectfully represents:

                                                 Jurisdiction

                     1.         This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January 31, 2012

 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

                     2.         Beginning on the Commencement Date, and continuing thereafter, each

 of the Debtors commenced with this Court a voluntary case under chapter 11 of the Bankruptcy

 Code. The Debtors are authorized to continue to operate their business and manage their

 properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

 Code. The Debtors’ chapter 11 cases are being jointly administered for procedural purposes only

 pursuant to Bankruptcy Rule 1015(b).




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                     3.         Information regarding the Debtors’ prepetition business, capital

 structure, and the circumstances leading to the commencement of these chapter 11 cases is set

 forth in the Declaration of Robert A. Riecker Pursuant to Rule 1007-2 of Local Bankruptcy Rules

 for Southern District of New York, sworn on October 15, 2018 (the “Riecker Declaration”)

 (ECF No. 3).2

                     4.         On October 24, 2018, the United States Trustee for Region 2 appointed

 an official committee of unsecured creditors (the “Creditors’ Committee”). No trustee or

 examiner has been appointed in these chapter 11 cases.

                     5.         On February 8, 2019, the Bankruptcy Court entered the Order (I)

 Approving the Asset Purchase Agreement Among Sellers and Buyer, (II) Authorizing the Sale of

 Certain of the Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances,

 (III) Authorizing the Assumption and Assignment of Certain Executory Contracts, and Leases in

 Connection Therewith and (IV) Granting Related Relief (ECF No. 2507) (the “Sale Order”).

 Pursuant to the Sale Order, the Debtors sold substantially all of their assets to Transform Holdco

 LLC (“Transform”) in a transaction (the “Sale Transaction”) that closed during the

 Compensation Period, on February 11, 2019.

                                       The Debtors’ Retention of Weil

                     6.         Weil has served as the Debtors’ counsel since the Commencement Date.

 The Court approved the Debtors’ application to retain and employ Weil as their attorneys (ECF

 No. 344) by order, dated November 13, 2018 (ECF No. 691) (the “Retention Order”). The

 Retention Order authorizes the Debtors to compensate and reimburse Weil in accordance with

 the Bankruptcy Code, the Bankruptcy Rules, and the Fee Guidelines (defined below). The


 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Riecker Declaration.

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 Retention Order also authorizes the Debtors to compensate Weil for services rendered and to

 reimburse Weil for its reasonable and necessary expenses incurred at Weil’s normal hourly rates

 and disbursement policies, subject to application to this Court. The Retention Order authorizes

 Weil to, among other things:

           •    prepare on behalf of the Debtors all necessary motions, applications, orders, reports,
                and other papers, and take all necessary actions in connection with the administration
                of the Debtors’ estates;

           •    take all necessary action to protect and preserve the Debtors’ estates, including the
                prosecution of actions on the Debtors’ behalf, the defense of any actions commenced
                against the Debtors, and the negotiation of disputes in which the Debtors are
                involved; and

           •    perform all other necessary legal services in connection with the prosecution of these
                chapter 11 cases.

                                  Summary of Professional Compensation
                                and Reimbursement of Expenses Requested3

                     7.         During the Compensation Period, Weil staffed attorneys from all of the

 firm’s departments and numerous practice areas to assist in the efficient administration of the

 Debtors and their estates.              During the Compensation Period, Weil attorneys and

 paraprofessionals expended a total of 45,377.70 hours in connection with the necessary services

 performed. Weil seeks allowance of compensation for professional services performed in the

 amount of $40,705,193.75 and for reimbursement of expenses incurred in connection with the

 rendition of such services in the amount of $1,572,862.82. Weil reserves the right to request




 3
   This Application has been prepared in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local
 Rules, the Order Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of
 Professionals (ECF No. 796) (the “Interim Compensation Order”), the Amended Guidelines for Fees and
 Disbursements for Professionals in Southern District of New York Bankruptcy Cases pursuant to Local Rule 2016-
 1(a) (as updated June 17, 2013) (the “Local Guidelines”), and the U.S. Trustee Guidelines for Reviewing
 Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in
 Larger Chapter 11 Cases, effective November 1, 2013 (the “UST Guidelines,” and, together with the Local
 Guidelines, the “Fee Guidelines”).

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 additional compensation for the Compensation Period to the extent that time or disbursement

 charges for services rendered or disbursements incurred relate to the Compensation Period.

                     8.         There is no agreement or understanding between Weil and any other

 person, other than members of the firm, for the sharing of compensation to be received for

 services rendered in these cases. During the Compensation Period, Weil received no payment or

 promises of payment from any source for services rendered or to be rendered in any capacity

 whatsoever in connection with the matters covered by this Application (other than from the

 Debtors in accordance with the Interim Compensation Order).

                     9.         The fees charged by Weil in these cases are billed in accordance with

 Weil’s existing billing rates and procedures in effect during the Compensation Period. The rates

 Weil charges for the services rendered by its professionals and paraprofessionals in these chapter

 11 cases generally are the same rates Weil charges for professional and paraprofessional services

 rendered in comparable bankruptcy and nonbankruptcy related matters. Such fees are reasonable

 based on the customary compensation charged by comparably skilled practitioners in comparable

 bankruptcy and nonbankruptcy cases in a competitive national legal market.

                     10.        Weil consistently monitors its charges and expenses before and after the

 submission of monthly fee statements for possible errors or charges that should be reduced. Weil

 will continue to diligently monitor its charges and expenses and, where appropriate, make

 applicable reductions.

                     11.        Annexed hereto as Exhibit “A” is a certification regarding compliance

 with the Fee Guidelines.

                     12.        The attached summary sheet contains a schedule of Weil professionals,

 paraprofessionals, and other non-legal staff who have performed services for the Debtors during



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 the Compensation Period, the capacities in which each individual is employed by Weil, the

 department in which each individual practices, the hourly billing rate charged by Weil for

 services performed by such individuals, the year in which each attorney was first licensed to

 practice law, where applicable, and the aggregate number of hours expended in this matter and

 fees billed therefor.

                     13.        The attached summary sheet also contains a summary of Weil’s time

 records billed during the Compensation Period using project categories hereinafter described.

 Weil maintains computerized records of the time spent by all Weil attorneys and

 paraprofessionals in connection with the prosecution of these chapter 11 cases. Details were

 filed on the docket with Weil’s monthly fee statements and furnished to the Debtors, the Court,

 counsel for the Creditors’ Committee, and the U.S. Trustee in the format specified by the Fee

 Guidelines.

                     14.        The attached summary sheet contains a schedule specifying the

 categories of expenses for which Weil is seeking reimbursement and the total amount for each

 such category. Itemized schedules of all expenses have been filed on the docket with Weil’s

 monthly fee statements, provided to the Debtors, the Court, counsel for the Creditors’

 Committee, and the U.S. Trustee.

                     15.        Annexed hereto as Exhibit “B” is a summary and comparison of the

 aggregate blended hourly rates billed by Weil’s New York timekeepers to nonbankruptcy matters

 during the preceding 12-month period ending March 31, 2019 and the blended hourly rates billed

 to the Debtors during the Compensation Period.

                     16.        Weil discussed its rates, fees, and staffing with the Debtors at the outset

 of these cases. Further, Weil provided the Debtors with a budget in connection with the Debtors’



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 postpetition financing and discussed staffing and fees with the Debtors throughout the

 Compensation Period. A summary of Weil’s budget and a discussion of its staffing plan are

 attached as Exhibit “C” and Exhibit “D”. Attorneys and paraprofessionals assigned to this

 matter were necessary to assist with the prosecution of the Debtors’ chapter 11 cases,

 preservation of the Debtors’ assets, and other matters described herein.

                     17.         The Debtors have been given the opportunity to review this Application

 and have approved the compensation and reimbursement of expenses requested herein.

                                      Summary of Services Performed by
                                     Weil During the Compensation Period

                     18.        The following is a summary of some of the significant professional

 services rendered by Weil during the Compensation Period, organized in accordance with Weil’s

 internal system of task codes. Certain services performed overlap between and appropriately

 could be allocated to more than one task code.

 a.        Asset Sales (Task Code 003)
           Fees: $13,492,950.00; Total Hours: 14,172.10

           •    Advised the Debtors and the Restructuring Committee of the Debtors’ Board of
                Directors, and the Debtors’ other restructuring professionals, including M-III Partners
                LLC (“M-III”) and Lazard Frères & Co. LLC (“Lazard”), on an array of strategic
                alternatives and options, including sale transactions whereby all or substantially all of
                the Debtors’ assets would be sold to an investor or buyer who would continue to
                operate the Debtors’ businesses as a going concern, alternatives whereby the Debtors’
                individual businesses would be sold separately to multiple purchasers, and the orderly
                winddown of the Debtors’ businesses (the “Sale Process”), and in furtherance
                thereof:

                •    Developed and obtained Court approval, over objections of the Creditors’
                     Committee, landlords, and other parties in interest, of global bidding and sale
                     procedures (the “Global Bidding Procedures”) for the marketing, auction and
                     sale of substantially all of the Debtors’ assets in an open and transparent process;

                •    Developed and considered alternative structures and the risks and benefits
                     associated therewith, including tax and regulatory considerations;



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                •    Consulted with key constituencies and their advisors in numerous formal
                     meetings and discussions, regarding marketing strategy, indications of interest,
                     and binding bids;

                •    Reviewed and analyzed a large volume of the Debtors’ and their non-Debtor
                     affiliates’ contracts and agreements, and coordinated and reviewed due diligence
                     documents, managed data rooms, prepared related work plans, and prepared
                     disclosure schedules;

                •    Coordinated advice from non-U.S. counsel and conducted research on a diverse
                     range of issues;

                •    Assisted in the solicitations of interest from a diverse set of potential strategic and
                     financial parties, including negotiating the execution of more than 125 NDAs with
                     potential third party investors contacted by Lazard, and many of the hundreds of
                     prospective bidders for the Debtors’ core and non-core properties contacted by
                     Jones Lang LaSalle Americas, Inc. (“JLL”);

                 •    Met with and advised the Restructuring Committee regarding critical milestones,
                      decisions, and updates in approximately 65 meetings, including in person, full-
                      day meetings;

                 •    Worked with the Debtors and their advisors to analyze and advise the Debtors
                      and the Restructuring Committee regarding:

                      •    Five bids to purchase as a going-concern one or more business lines of the
                           Debtors;

                      •    Two proposals to serve as liquidation agent to the Debtors;

                      •    Four proposals to serve as advisors to liquidate the Debtors’ retail stores; and

                      •    Approximately 440 indications of interest for various real estate assets;

           •    Obtained Court approval, after a contested, three-day trial and over more than 300
                objections, of the going-concern Sale Transaction for consideration of approximately
                $5.2 billion to maximize the value of the Debtors’ estates, preserve the Debtors’
                profitable core businesses, and preserve the jobs of tens of thousands of employees,
                and in furtherance thereof:

                •    Conducted a three-day auction during which the Debtors improved Transform’s
                     bid to a level that the Court approved as higher or better than the modeled
                     recoveries in a wind down scenario;

                •    Negotiated and drafted key sale documentation for the going-concern sale to ESL
                     (including the asset purchase agreement, disclosure schedules, transition services



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                     agreement, employee lease agreement, multiple escrow agreements, and other
                     ancillary necessary documentation);

                •    Drafted five declarations in support of the Sale Transaction, prepared six
                     witnesses to testify at the sale hearing, and produced more than 250,000 pages of
                     documents in response to approximately forty diligence and document requests
                     from the Creditors’ Committee;

                •    Prepared a motion to approve the Sale Transaction and responded to more than
                     300 objections thereto, including three separate and substantial objections filed by
                     the Creditors’ Committee;

           •    Advised and executed alternative strategies for the Debtors for the sales of various
                separate business and assets and liquidation sales:

                •    With respect to certain discrete, but substantial, subsets of assets, including Sears
                     Home Improvement business (“SHIP Business”), medium-term intercompany
                     notes (the “MTNs”), interests in certain non-residential real property, and de
                     minimis assets:

                     •          Advised on the structure and implementation of sales, and negotiated and
                                drafted key sale documentation for the various assets (including multiple
                                asset purchase agreements, disclosure schedules, escrow agreements and
                                other ancillary necessary documentation);

                     •          Engaged with multiple buyers and their advisors for various asset sales
                                (including by teleconference and in-person meetings), undertook diligence
                                on the assets and businesses, and coordinated diligence efforts of potential
                                buyers and their advisors;

                     •          Prepared a motion establishing auction and sale procedures for the sale of
                                the MTNs, advised the Debtors with respect to the auction and obtained
                                Court approval of the auction result over the objections of certain auction
                                participants;

                     •          Developed and obtained Court approval of bidding and sale procedures for
                                the marketing, auction and sale of the SHIP Business, utilized the
                                procedures thereunder to obtain Court approval of the auction result, and
                                negotiated and settled a dispute with the winning bidder;

                     •          Prepared and obtained Court approval of a motion seeking the sale of
                                thirteen parcels of non-residential real property and related assignment of
                                six unexpired leases;

                     •          Negotiated and advised on the sale of de minimis property by seeking and
                                obtaining Court approval of procedures for the sale, transfer, or



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                                abandonment of such property, and utilizing such procedures thereafter by
                                filing five notices of de minimis asset sales;4

                •    With respect to liquidation sales:

                     •          Obtained Court approval of store closing procedures and utilized such
                                procedures to close more than 260 of the Debtors’ stores over objections
                                from certain landlords;

                     •          Advised on the structure and implementation of a potential liquidation
                                process and the appointment of a liquidator;

                     •          Engaged with potential liquidators and their advisers and negotiated with
                                respect to the form and structure of agreements and ancillary necessary
                                documents; and

           •         Reviewed, researched, and analyzed various post-closing issues as they arose,
                     including vendor payments, turnover of funds, employee access and information
                     sharing during the transitional period, and the assumption and assignment process
                     for executory contracts and unexpired leases.

 b.        Automatic Stay (Task Code 004)
           Fees: $826,456.50; Total Hours: 957.70

           •    Preserved the value of the Debtors’ assets, including contract rights, by advising the
                Debtors and engaging with hundreds of the Debtors’ vendors, customers, regulators,
                and other counterparties to enforce the automatic stay, including with regard to
                pending and threatened litigation, demands for payment, setoff, recoupment, and
                threatened and actual failure to comply with pre- and post-petition contracts;

           •    Negotiated and documented resolutions of disputes, where possible;

           •    Analyzed more than forty motions for relief from the automatic stay, coordinating
                with various members of the Debtors’ legal, finance, and business teams and the
                Debtors’ advisors;

           •    Drafted six objections to motions seeking relief from the automatic stay filed by
                various parties;5

           •    Negotiated, drafted, filed, and obtained Court approval of:

                •    A motion establishing procedures for modifying the automatic stay;

                •    Ten stipulations granting limited relief from the automatic stay;6


 4
     See ECF Nos: 2652, 2360, 1785, 1784, and 1516.
 5
     See ECF Nos: 1198, 1241, 1280, 1547, 1549, 2497.

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            •   Negotiated withdrawals, adjournments, and other matters with numerous parties; and

            •   Conducted legal research and factual diligence on various issues related to the
                automatic stay.

 c.         Bar Date Motion/Claims Reconciliation Issues (Task Code 006)
            Fees: $39,745.50; Total Hours: 59.00

            •   Obtained Court approval of a bar date for prepetition and rejection damage claims
                against the Debtors, which will enable the Debtors to assess their options in and exit
                from these chapter 11 cases;

            •   Developed and obtained Court approval of motions establishing procedures for the
                efficient settlement of de minimis claims and for the resolution of 503(b)(9) priority
                claims;

            •   Consulted with and responded to large volume of inquiries from the Creditors’
                Committee’s professionals and numerous other creditors and parties-in-interest
                regarding the foregoing;

            •   Conducted research on a wide variety of claims-related issues in response to inquiries
                from the Debtors, creditors, and other stakeholders; and

            •   Coordinated with the Debtors’ Court-appointed claims and noticing agent, Prime
                Clerk LLC (“Prime Clerk”), and Deloitte Transactions and Business Analytics LLP
                (“Deloitte”) regarding claim issues, the bar date, and related notices.

 d.         Case Administration (Task Code 007)
            Fees: $337,805.50; Total Hours: 529.10

            •   Established and staffed a telephone hotline for parties in interest and responded to
                customer, creditor and vendor inquiries regarding a wide variety of issues;

            •   Advised and continually updated the Debtors on bankruptcy and case-related issues;

            •   Prepared materials for and advised the Debtors to ensure compliance with Court
                orders and statutory requirements;

            •   Prepared and distributed docket updates, case calendars, organization structure charts,
                and case timelines for the Debtors, the Debtors’ other professionals, and internal
                teams;

            •   Drafted and filed notices of hearing dates, adjournments, and various filings on behalf
                of the Debtors;



 6
     See ECF Nos: 1551, 1722, 1776, 2139, 2141, 2149, 2150, 2508, 2509, 2627.

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           •    Assisted the Debtors with their preparation and drafting of, among other things,
                frequently asked questions and answers, internal corporate communications, and
                external press releases;

           •    Communicated and coordinated with counsel for DIP lenders and the Creditors’
                Committee in advance of filing motions and hearings; and

           •    Responded to numerous other inquiries related to the status of these cases, specific
                contract counterparty demands, and other matters related to ongoing operations and
                the administration of these cases.

 e.        Chapter 11 Plan/Plan Confirmation (Task Code 008)
           Fees: $139,668.50; Total Hours: 132.70

           •    Drafted documents related to, and in preparation of, filing a plan of reorganization,
                including drafts of plan term sheets and chapter 11 plan, based on changing
                circumstances;

           •    Coordinated with the Debtors, the Debtors’ professionals, and other parties in interest
                regarding same; and

           •    Conducted research and provided advice on matters related to plan structure,
                implementation, and confirmation.

 f.        Communications with Client (Task Code 009)
           Fees: $618,904.00; Total Hours: 588.40

           •    Met and participated on calls regarding case updates, strategy, coordination and
                operational issues arising from the commencement of the cases, the sale process, and
                contested matters, with the Debtors and their advisors, the Restructuring Committee
                and Subcommittee and their advisors, the Creditors’ Committee and their advisors,
                and other parties in interest throughout the Compensation Period.

 g.        Corporate Governance (Task Code 010)
           Fees: $2,019,986.50; Total Hours: 1,867.80

           •    Advised the Board and the Restructuring Committee, and prepared materials for and
                participated in numerous meetings and additional calls, including regarding the Sale
                Process, pending litigation, and chapter 11 case status and strategy;

           •    Drafted minutes, resolutions, secretary certificates, and corporate governance
                guidelines; advised the Debtors regarding various governance issues and documents
                of the Board and committees; and

           •    Conducted research and advised the Debtors with respect to various public filings,
                and disclosure requirements and issues.



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 h.         Customer, Supplier and Vendor Issues (including critical vendors) (Task Code 011)
            Fees: $1,420,112.00; Total Hours: 1,330.20

            •   Ensured the continued provision of critical goods and merchandise to the Debtors and
                performance of critical services for the Debtors, including by:

                •    Developing a critical vendor protocol, preparing and successfully prosecuting a
                     motion for Court approval of same, and obtaining interim and final order after
                     presentations at separate hearings;

                •    Drafting vendor agreements and correspondence and participating on calls and in
                     meetings with critical vendors (and numerous parties seeking status as such), and
                     negotiating and drafting documents, including stipulations, contracts and
                     amendments, with vendors and customers;

                •    Ensuring compliance with the critical vendor and other first day orders, including
                     by maintaining a dedicated team to participate in on-site daily vendor meetings at
                     the Debtors’ headquarters, critical vendor committee calls, and calls with critical
                     vendors;

                •    Advising the Debtors regarding determination of critical vendor status, executory
                     contracts, and other issues; and

                •    Advising the Debtors and negotiating with counterparties regarding cure amounts.

            •   Coordinated with the Debtors and M-III with respect to:

                •    Ten motions seeking allowance and payment of administrative expense claims
                     filed by creditors;7

                •    Demands for reclamation;

                •    Research in the context of various administrative expense claims;

                •    Preparing presentations for the Debtors and various interested parties;

                •    Analyzing and providing advice regarding customer claims related to Debtors’
                     operations and facilitating resolution of same; and

                •    Reviewing and responding to various vendor and customer questions, requests
                     and demands.




 7
     See ECF Nos: 978, 1102, 1349, 1374, 1385, 1386, 1477, 1491, 2579, 2690.

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 i.        DIP Financing/Cash Management (Task Code 013)
           Fees: $4,094,609.00; Total Hours: 5,156.20

           •    Secured approval of approximately $2.2 billion in the aggregate of senior and junior
                debtor-in-possession financing to provide the Debtors with sufficient working capital
                to fund their operations during the Compensation Period;

           •    Developed and implemented an overlapping but separate marketing and solicitation
                process for the approximately $1.8 billion DIP ABL Facility and for the
                approximately $350 million Junior DIP Financing, and in connection therewith:

               •   negotiated the execution of over 30 NDAs with various interested parties;

               •   responded to a large number of information and diligence requests, including from
                   the Creditors’ Committee;

               •   extensively negotiated the terms of financing and drafted numerous loan and
                   related documents, including the credit agreements and interim and final orders,
                   together with all schedules and ancillary agreements;

               •   responded to and negotiated the settlement of a motion seeking payment for
                   substantial contribution;

           •    Prepared for interim and final hearings, including working with the Debtors and the
                Debtors’ other professionals on factual investigations, witness preparation, and
                drafting of declarations and pleadings in support of the relief requested;

           •    Researched and analyzed numerous issues regarding DIP Financing and the Debtors’
                prepetition financings as they arose;

           •    Assisted the Debtors with compliance with DIP Financing documents and orders,
                including reporting obligations and updated schedules to the credit agreements for the
                DIP ABL Facility and Junior DIP Financing;

           •    Secured entry of final cash management order and advised the Debtors on ongoing
                cash-management related issues; and

           •    Coordinated the payoff process for the DIP ABL Facility, Prepetition ABL Facilities,
                and Junior DIP Financing in connection with consummation of the Sale Transaction.

 j.        Employee Issues (including pension and CBA) (Task Code 015)
           Fees: Fees: $2,000,090.50; Total Hours: 2,002.20

           •    Advised the Debtors on employee-related aspects of the Sale Transaction;




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           •    Negotiated settlement among the Debtors and the Pension Benefit Guaranty
                Corporation (the “PBGC”), under which PBGC agreed to support the Sale
                Transaction;

           •    Obtained Court approval of a motion for authorization to satisfy certain employee-
                related obligations;

           •    Worked with the Debtors and their advisors to:

                •    draft and obtain Court approval of various employee-related motions and related
                     pleadings, including two motions to reject certain employment agreements;

                •    structure key employee incentive programs and key employee retention plans, and
                     draft, file and obtain Court approval of a motion seeking approval of such plans
                     after preparing declarations in support thereof and negotiating with various
                     parties, including the U.S. Trustee, Creditors’ Committee, and DIP Lenders;

           •    Attended and participated in numerous meetings with, prepared materials for, and
                responded to correspondence and questions from the Debtors’ current and former
                employees, including regarding chapter 11 case status, compensation plans and
                pension plans; and

           •    Conducted research and advised the Debtors on various employment matters,
                including: (i) Sears Savings Plan; (ii) severance, taxes, retention, pensions,
                employment contracts, retirement benefits and liabilities; (iii) administrative expense
                status of certain employee payments; (iv) PBGC’s involuntary termination of the
                Debtors’ pension plans and disclosure requirements related thereto; (v) retiree
                medical issues; and (vi) information requests from the Creditors’ Committee, the
                Debtors’ employees, and other interested parties.

 k.        Exclusivity (Task Code 016)
           Fees: $45,396.00; Total Hours: 51.10
           •    Obtained Court approval to extend the Debtors’ exclusive rights to propose and solicit
                votes on a chapter 11 plan and negotiated the withdrawal of the Creditors’
                Committee’s objection to the Debtors’ motion seeking approval of same.

 l.        Executory Contracts/Lease Issues (Task Code 017)
           Fees: $103,617.50; Total Hours: 141.80

           •    Sought and obtained Court approval of procedures for the assumption, assumption
                and assignment, or rejection of unexpired leases and executory contracts, and in
                connection therewith:

                •    Drafted and filed multiple notices rejecting more than 100 of the Debtors’
                     unexpired leases of non-residential real property;



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                •    Prepared and filed notices of assumption and assignment of executory contracts
                     and unexpired leases;

                •    Prepared and filed notices of cure costs for executory contracts and unexpired
                     leases;

           •    Prepared and filed motions to reject certain of the Debtors’ executory contracts;

           •    Corresponded and negotiated with numerous of the Debtors’ contract counterparties
                regarding post-petition contract terms and extensions, formal and informal objections
                to cure amounts, adequate assurance, or proposed assumption, assignment, or
                rejection; and

           •    Conducted research and reviewed and analyzed numerous executory and other
                contracts, leases, and agreements in response to inquiries from the Debtors and the
                Debtors’ other advisors.

 m.        General Case Strategy (Task Code 018)
           Fees: $964,115.50; Total Hours: 997.40
           •    Prepared for and participated in meetings and on teleconferences:

                •    With the Debtors, the Debtors’ other professionals, the Debtors’ Board of
                     Directors, the Restructuring Committee thereof, and Weil teams, in New York
                     and at the Debtors’ headquarters;

                •    Including employee meetings, legal team meetings, and management meetings;

                •    Regarding case strategy and coordination, Court filings and hearings, DIP
                     financing, customer and vendor-related matters, compliance with and
                     implementation of Court orders, significant claims, pending and potential
                     litigation, the marketing and sale process, chapter 11 plan and emergence
                     strategies, and other general bankruptcy matters;

           •    Prepared and delivered materials on operational issues, including the GOB process,
                and presentation regarding same;

           •    Engaged with the DIP lenders, U.S. Trustee, Creditors’ Committee, and creditors
                regarding all aspects of the bankruptcy cases;

           •    Prepared for court hearings and analyzed and addressed court filings; and

           •    Responded to a large volume of emails, calls and correspondence related to the
                Debtors’ bankruptcy cases and related matters.




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 n.        Hearing and Court Matters (Task Code 019)
           Fees: $1,434,677.00; Total Hours: 2,014.30

           •    Prepared for and represented the Debtors at first day and thirteen other hearings
                before Court, and additional conferences with the Court, including a contested three-
                day hearing for approval of the going-concern Sale Transaction;

           •    Prepared witness, declarations and evidence in support of the various relief requested;

           •    Prepared, filed on the docket of these cases, and arranged service of various motions,
                notices and documents, including agendas, proposed orders, and certificates of no
                objection to avoid the expense of hearings on uncontested matters;

           •    Negotiated terms of proposed orders and related documents with parties-in-interest;
                and

           •    Consulted with the Court’s chambers and prepared materials for the Court.

 o.        Insurance and Workers Compensation Issues (Task Code 020)
           Fees: $162,590.00; Total Hours: 186.10
           •    Analyzed and researched legal and factual issues relating to a number of the Debtors’
                current and former insurance policies;

           •    Negotiated, drafted, and obtained Court approval of a motion seeking assumption of
                one of the Debtors’ insurance programs and related financing; and

           •    Participated on calls with the Debtors’ legal and business team and M-III regarding
                insurance policies and related issues and conducted factual diligence regarding same.

 p.        Non-Bankruptcy Litigation (Task Code 021)
           Fees: $63,693.50; Total Hours: 76.40
           •    Advised the Debtors regarding strategies for various pending and contemplated non-
                bankruptcy-related litigations, and reviewed and analyzed materials in connection
                therewith;

           •    Drafted notices of suggestion of bankruptcy and provided analysis for cases pending
                in other courts; and

           •    Filed and obtained Court approval of a motion to extend the time to remove civil
                actions.

 q.        Real Property Leases/ Section 365 Issues/ Cure amounts (Task Code 023)
           Fees: $6,246,231.00; Total Hours: 7,079.60

           •    Assisted in the successful implementation of the real estate aspects of the Debtors’
                chapter 11 strategy, and in furtherance thereof:


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                •    Undertook diligence, negotiated and prepared the real estate provisions of various
                     asset purchase agreements, the amendments thereto, and ancillary agreements
                     related to, among others, potential going concern sales, the sales of separate
                     businesses, and separate real property interests;

                •    Analyzed numerous real estate disclosure schedules, prepare over 130 deeds for
                     the conveyance of owned properties, and reviewed, analyzed, and assisted in
                     property appraisals of over 100 transactions;

                •    Advised the Debtors on their negotiations with landlords and prepared settlement
                     terms thereof, and administered various electronic datarooms containing property
                     information and diligence materials for more than 1,200 ground leases and/or
                     leased properties;

                •    Drafted and obtained Court approval of a motion to extend time to assume or
                     reject unexpired non-residential leases;

                •    Drafted and obtained Court approval of procedures to reject unexpired leases and
                     utilized such procedures to reject more than 100 retail and non-retail leases;

                •    Drafted and obtained Court approval of a sale of thirteen parcels of nonresidential
                     real property to Amerco Real Estate Company;

                •    Drafted and entered into eleven stipulations with various parties to, among other
                     things, resolve objections to lease rejection notices; grant limited relief from the
                     automatic stay for such parties to exercise their foreclosure rights; or to assume
                     and assign unexpired nonresidential real property leases;8

                •    Responded to multiple motions seeking immediate assumption or rejection of
                     unexpired leases or determination of inapplicability of the automatic stay;

                •    Participated on teleconferences with the Debtors and their advisors regarding
                     strategies for the Debtors’ real property leases, including lease payment issues
                     arising thereunder;

                •    Responded to numerous inquiries related to lease and real estate issues, including
                     over 100 property diligence requests made by DIP lenders and potential DIP
                     lenders, potential bidders and their advisors; and

                •    Researched numerous issues as they arise, including severability of master leases,
                     subtenant issues, and setoff and recoupment of deposits.




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     See ECF Nos: 1724, 2139, 2141, 2149, 2150, 2402, 2435, 2508, 2509, 2659, 2702.

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 r.        Regulatory/Environmental Issues (Task Code 025)
           Fees: $1,000,104.50; Total Hours: 1,010.20
           •    Communicated with various United States government agencies regarding the chapter
                11 process, and advised on regulatory, tax, environmental, intellectual property,
                antitrust, and privacy issues associated with the sale of the Debtors’ businesses,
                including:

                •    Debtors’ Hart-Scott-Rodino filings with respect to the going-concern sale;

                •    The appointment and selection of the consumer privacy ombudsman and review
                     of ombudsman’s recommendations and report; and

                •    Certain of the Debtors’ interests in real property.

 s.        Retention/Fee Application: Ordinary Course Professionals (Task Code 026)
           Fees: $131,021.00; Total Hours: 242.60
           •    Facilitated the Debtors’ efficient retention of over 100 ordinary course professionals,
                assisting the Debtors and their professionals in preparing, reviewing, and filing
                retention affidavits and questionnaires for compliance with the Court’s order
                concerning the retention of professionals in the ordinary course of business.

 t.        Retention/Fee Application: Other Professionals (Task Code 027)
           Fees: $328,818.50; Total Hours: 455.10
           •    Obtained authorization for the Debtors’ retention of, among others, Deloitte; JLL;
                Lazard; McAndrews, Held & Malloy; M-III; Prime Clerk; Seyfarth Shaw LLP; and
                Wachtell, Lipton, Rosen & Katz:

                •    Drafted, reviewed, and filed applications and related affidavits, notices, and other
                     documents in connection with same, including engagement agreements;

           •    Reviewed and advised the Debtors in connection with retention applications,
                supplemental applications, and statements filed by the Creditors’ Committee and
                other professionals;

           •    Drafted and obtained Court approval of interim compensation procedures;

           •    Participated on numerous calls with the U.S. Trustee regarding retentions of the
                Debtors’ professionals.

 u.        Schedules/Statement of Financial Affairs (Task Code 029)
           Fees: $391,294.00; Total Hours: 515.80

           •    Assisted the Debtors in preparing and timely filing of their schedules of assets and
                liabilities and statements of financial affairs, including the global notes for same,
                comprising approximately 23,000 pages;


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           •    Researched various issues in response to the Debtors’ inquiries; and

           •    Responded to U.S. Trustee’s inquiries regarding the schedules and statements.

 v.        Tax Issues (Task Code 031)
           Fees: $1,194,764.00; Total Hours: 965.30

           •    Analyzed and advised the Debtors regarding tax consequences in connection with
                DIP Financing;

           •    Conducted analysis of U.S. tax consequences of various restructuring alternatives for
                the Debtors, including the going-concern Sale Transaction and the proposed sale
                transaction for SHIP;

           •    Formulated and implemented court-approved procedures to preserve the Debtors’ tax
                attributes in the chapter 11 cases and in connection with a chapter 11 plan, including
                drafting and obtaining Court approval of a stock and claims trading motion and
                responding to requests for interpretation of and relief from such order;

           •    Worked with the Debtors and their tax professionals to conduct on-going comparative
                tax analysis of various scenarios, including tax attribute analysis and ownership
                change analysis;

           •    Advised the Debtors on various other tax-related issues, including the treatment of tax
                obligations in a chapter 11; and

           •    Assisted the Debtors in the preparation of the tax-related documents for transaction
                datarooms.

 w.        Unsecured Creditor Issues/ Communications/Meetings (Task Code 032)
           Fees: $493,443.00; Total Hours: 550.60
           •    Prepared materials for and participated in meetings with the Debtors and the
                Creditors’ Committee and numerous meetings or calls with the Creditors’
                Committee’s and the Debtors’ advisors regarding all aspects of the chapter 11 cases,
                including DIP Financing, vendor relations, real estate, exclusivity, chapter 11 plan,
                and corporate governance;

           •    Consulted with the Creditors’ Committee at each step of the Sale Process, including:

                •    sharing with the Creditors’ Committee various analyses used to evaluate their
                     options, including the winddown recovery analysis, analyses of a potential going-
                     concern path, possible creditor recovery scenarios, and winddown budgets;

                •    updating the Creditors’ Committee’s advisors regarding the development of the
                     Debtors’ tax profile and the consequential implications as to potential emergence
                     transactions;


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                •    holding meetings and calls multiple times each week and, in certain periods,
                     multiple times a day to keep the Creditors’ Committee informed of key
                     negotiations, changes in the terms of the bids received, and the Debtors’
                     evaluations of such bids and comparison to a winddown scenario;

           •    Provided information or presentations to the Creditors’ Committee’s advisors prior to
                filing various pleadings and responded to inquiries and comments;

           •    Prepared response to a draft motion shared by the Creditors’ Committee and
                negotiated consensual resolution with Creditors’ Committee with an agreed order
                pursuant to Bankruptcy Rule 2004(a) and a protocol, authorizing the Creditors’
                Committee to take document discovery and deposition testimony from the Debtors;

           •    Participated on numerous calls and in coordination meetings with the Debtors and
                their advisors to formulate strategies for responding to the Creditors’ Committee’s
                document and deposition requests; and

           •    Reviewed approximately forty diligence and document requests from the Creditors’
                Committee and an extensive number of requested documents for confidentiality and
                privilege, redacting documents for production and creating a privilege log, and
                conducting research in connection with same, producing more than 250,000 pages of
                documents for the Creditors’ Committee.

 x.        U.S. Trustee Issues/Meetings/Communications/ Reports (Task Code 033)
           Fees: $69,779.50; Total Hours: 80.80
           •    Assisted with the review, preparation and filing of monthly operating reports and
                statement pursuant to Bankruptcy Rule 2015.3;

           •    Prepared materials and witness for and appeared for the Debtors at the section 341
                meeting and adjournment thereof; and

           •    Participated on teleconferences with the U.S. Trustee and prepared responses to
                various requests regarding monthly operating reports, section 341 meeting, critical
                vendors, non-debtor affiliates, DIP Financing, cash management, appointment of fee
                examiner, employee issues, and other aspects of the chapter 11 cases.

 y.        Utility Issues/Adequate Assurance (Task Code 034)
           Fees: $305,041.50; Total Hours: 434.70
           •    Obtained Court order approving form of adequate protection for utility providers;

           •    Negotiated and drafted numerous adequate assurance stipulations in response to
                requests for adequate assurance of payment from the Debtors;

           •    Prepared response to a motion filed by utility companies for reconsideration of the
                Court’s order regarding adequate protection;



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           •    Corresponded and negotiated with various utility companies regarding adequate
                assurance, payment issues, and the Sale Process; and

           •    Coordinated with the Debtors and the Debtors’ service providers to ensure
                compliance and payments.

 z.        Restructuring Subcommittee Investigation (Task Code 035)
           Fees: $1,988,491.50; Total Hours: 2,656.50
           •    Facilitated the Restructuring Subcommittee’s investigation into prepetition, related-
                party transaction and the DIP Financing process, including preparing six witnesses for
                depositions in connection therewith;

           •    Coordinated with the Restructuring Subcommittee on numerous issues in furtherance
                of its investigation, including producing over 6.2 million pages in response to
                discovery requests.

 aa.       Sears Re (Task Code 036)
           Fees: $57,704.50; Total Hours: 49.30
           •    Formulated and implemented aspects of the going-concern sale involving Sears Re,
                and in furtherance thereof:

                •    Reviewed and analyzed Sears Re’s contracts and agreements, including
                     organizational documents and reinsurance and protection agreements;

                •    Conducted analyses and participated on calls with the Debtors and their advisors
                     to formulate strategies for the sale of KCD Asset-backed Notes in exchange for
                     Transform’s assumption of Sears Re’s protection agreement liabilities;

                •    Prepared for and participated in Sears Re’s board meetings; and

                •    Prepared application for approval of the Bermuda Monetary Authority in
                     connection with the going-concern Sale Transaction.

 bb.       KCD (Task Code 037)
           Fees: $163,965.00; Total Hours: 177.10
           •    Reviewed and analyzed contracts and agreements of KCD IP, LLC (“KCD”),
                including the KCD Indenture, organizational documents, and inter-company license
                agreements;

           •    Conducted research and advised the Debtors with regard to various issues, including
                an analysis of interested parties’ consent rights over the transfer of the KCD Asset-
                backed Notes;

           •    Prepared for and participated in KCD board meetings and obtained approval thereof
                for license of KCD intellectual property; and


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           •    Responded to and negotiated the withdrawal of a motion to remove KCD’s servicer
                and manager.

                       19. The professional services performed by partners, counsel, and associates

   of Weil were rendered by the Business Finance & Restructuring, Corporate, Litigation, and

   Tax, Benefits, and Executive Compensation Departments predominantly in the New York

   office. Weil has a preeminent Business Finance & Restructuring practice and enjoys a national

   reputation for its expertise in financial reorganizations and restructurings of troubled entities,

   with approximately 100 attorneys that specialize in this area of law.

                       20.      The professional services performed by Weil on behalf of the Debtors

   during the Compensation Period required an aggregate expenditure of approximately 45,377.70

   hours by Weil’s partners, counsel, associates, paraprofessionals, and other non-legal staff. Of

   the aggregate time expended, approximately 12,677.80 recorded hours were expended by

   partners and counsel of Weil, approximately 27,833.80 recorded hours were expended by

   associates, and approximately 4,866.10 recorded hours were expended by paraprofessionals

   and other non-legal staff of Weil.

                                Actual and Necessary Disbursements of Weil

                       21.      Weil disbursed $1,572,862.82 as expenses incurred in providing

   professional services during the Compensation Period. These expenses are reasonable and

   necessary and were essential to the overall administration of these chapter 11 cases.

                       22. While Weil has not charged the Debtors for any overtime expenses,

   consistent with firm policy, attorneys and other employees of Weil who worked late into the

   evenings or on weekends were reimbursed for their reasonable meal costs and their cost for

   transportation home from the office. Weil’s regular practice is not to include components for

   those charges in overhead when establishing billing rates and to charge its clients for these and


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   all other out-of-pocket disbursements incurred during the regular course of the rendition of

   services. The reimbursement amounts do not exceed those set forth in the Fee Guidelines and

   the Local Rules.

                       23. With respect to black-and-white photocopying expenses, in compliance

   with the Fee Guidelines and Local Rule 2016-1, Weil charges all of its clients $.10 per page;

   for color copies, Weil charges $.50 per page. Each of these categories of expenses does not

   exceed the maximum rate set by the Local Rules or Local Guidelines. These charges are

   intended to cover Weil’s direct operating costs, which costs are not incorporated into the Weil

   hourly billing rates. Only clients who actually use services of the types set forth in the

   summary sheet are separately charged for such services. The effect of including such expenses

   as part of the hourly billing rates would impose that cost upon clients who do not require

   extensive photocopying and other facilities and services.          The amount of the standard

   photocopying charge is intended to allow Weil to cover the related expenses of

   its photocopying service. A determination of the actual expenses per page for photocopying,

   however, is dependent on both the volume of copies and the total expenses attributable to

   photocopying on an annual basis.

                       24. On certain occasions, overnight delivery of documents and other materials

   was required as a result of circumstances necessitating the use of such express services. These

   disbursements are not included in Weil’s overhead for the purpose of setting billing rates.

   Weil has made every effort to minimize its disbursements in this case. The actual expenses

   incurred in providing professional services were absolutely necessary, reasonable, and justified

   under the circumstances to serve the needs of the Debtors, their estates, and creditors.




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                                The Requested Compensation Should Be Allowed

                       25. Section 331 of the Bankruptcy Code provides for interim compensation of

   professionals and incorporates the substantive standards of section 330 to govern the Court’s

   award of such compensation. 11 U.S.C. § 331. Section 330 provides that a Court may award a

   professional employed under section 327 of the Bankruptcy Code “reasonable compensation

   for actual, necessary services rendered [and] reimbursement for actual, necessary expenses.”

   11 U.S.C. § 330(a)(1).             Section 330 also sets forth the criteria for the award of such

   compensation and reimbursement:

           In determining the amount of reasonable compensation to be awarded to [a]
           professional person, the court shall consider the nature, the extent, and the value
           of such services, taking into account all relevant factors, including –

                     (A)        the time spent on such services;

                     (B)        the rates charged for such services;

                     (C)    whether the services were necessary to the administration of, or
                     beneficial at the time at which the service was rendered toward the
                     completion of, a case under this title;

                     (D)    whether the services were performed within a reasonable amount
                     of time commensurate with the complexity, importance, and nature of the
                     problem, issue, or task addressed;

                     (E)     with respect to a professional person, whether the person is board
                     certified or otherwise has demonstrated skill and experience in the
                     bankruptcy field; and

                     (F)    whether the compensation is reasonable based on the customary
                     compensation charged by comparably skilled practitioners in cases other
                     than cases under this title.

 Id. § 330(a)(3).

                       26. Weil submits that the professional services for which it seeks

   compensation and the expenditures for which it seeks reimbursement in this Application were

   necessary and appropriate for the orderly administration of the Debtors’ chapter 11 estates.


                                                         26
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   The professional services performed by Weil preserved and protected the value of the Debtors’

   assets for the benefit of all parties-in-interest.

                       27. Compensation for the foregoing services as requested is commensurate

   with the complexity, importance, and nature of the problems, issues, and tasks involved. The

   professional services were performed expediently and efficiently. Whenever possible, Weil

   sought to minimize the costs of its services to the Debtors by utilizing talented junior attorneys

   and paraprofessionals to handle the more routine aspects of case administration.

                       28. The compensation requested herein is reasonable under the applicable

   standards. Approval of the compensation for professional services and reimbursement of

   expenses sought herein is warranted.             Weil respectfully requests that the Court grant the

   Application.

                                                     Notice

                     29.        Notice of this Motion will be provided in accordance with the procedures

 set forth in the Amended Order Implementing Certain Notice and Case Management Procedures,

 entered on November 1, 2018 (ECF No. 405) (the “Amended Case Management Order”). The

 Debtors respectfully submit that no further notice is required.

                     30.         No previous request for the relief sought herein has been made by Weil

 to this or any other Court.

                                                   Conclusion

                     31.         Weil respectfully requests that the Court (i) award interim allowance of

 Weil’s compensation for professional services rendered during the Compensation Period in the

 amount of $42,278,056.57, consisting of $40,705,193.75 in fees incurred and $1,572,862.82 in

 actual and necessary expenses incurred during the Compensation Period, and that such allowance

 be without prejudice to Weil’s right to seek additional compensation for services performed and

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 expenses incurred during the Compensation Period, which were not processed at the time of this

 Application, (ii) direct payment by the Debtors of the difference between the amounts allowed

 and any amounts previously paid by the Debtors pursuant to the Interim Compensation Order,

 and (iii) grant such other and further relief as is just.

 Dated: April 15, 2019
        New York, New York
                                             /s/ Garrett A. Fail
                                             WEIL, GOTSHAL & MANGES LLP
                                             767 Fifth Avenue
                                             New York, New York 10153
                                             Telephone: (212) 310-8000
                                             Facsimile: (212) 310-8007
                                             Ray C. Schrock, P.C.
                                             Jacqueline Marcus
                                             Garrett A. Fail
                                             Sunny Singh

                                             Attorneys for Debtors
                                             and Debtors in Possession




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                                            Exhibit A

                                           Certification




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 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
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 Ray C. Schrock, P.C.
 Jacqueline Marcus
 Garrett A. Fail
 Sunny Singh

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                :
 In re                                                          :       Chapter 11
                                                                :
 SEARS HOLDINGS CORPORATION, et al.,                            :       Case No. 18-23538 (RDD)
                                                                :
                              1
                   Debtors.                                     :       (Jointly Administered)
                                                                :
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 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816). The location of
 the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.



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               CERTIFICATION OF GARRETT A. FAIL IN SUPPORT OF
             FIRST APPLICATION OF WEIL, GOTSHAL & MANGES LLP,
          AS ATTORNEYS FOR THE DEBTORS, FOR INTERIM ALLOWANCE
        OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
       REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED
      FROM OCTOBER 15, 2018 THROUGH AND INCLUDING FEBRUARY 28, 2019

           I, Garrett A. Fail, hereby certify that:

                      1.         I am a partner with the applicant firm, Weil, Gotshal & Manges LLP

  (“Weil”), with responsibility for the chapter 11 cases of Sears Holdings Corporation and its

  debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

  (the “Debtors”), and compliance with the Order Authorizing Procedures for Interim

  Compensation and Reimbursement of Expenses of Professionals (ECF No. 796) (the “Interim

  Compensation Order”), the Amended Guidelines for Fees and Disbursements for

  Professionals in Southern District of New York Bankruptcy Cases pursuant to Local Rule 2016-

  1(a) (as updated June 17, 2013) (the “Local Guidelines”), and the U.S. Trustee Guidelines for

  Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

  U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013 (the “UST

  Guidelines,” and, together with the Local Guidelines, the “Fee Guidelines”).

                      2.         This certification is made in connection with Weil’s Application, dated

  April 15, 2019, for interim compensation and reimbursement of expenses for the period

  commencing October 15, 2018 through and including February 28, 2019 in accordance with the

  Fee Guidelines (the “Application”).

                      3.         Pursuant to section B(1) of the Local Guidelines, I certify that:

                                a.     I have read the Application;

                            b.     To the best of my knowledge, information, and belief formed after
                     reasonable inquiry, the fees and disbursements sought fall within the Local
                     Guidelines;


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                            c.      The fees and disbursements sought are billed at rates in accordance
                     with those customarily charged by Weil and generally accepted by Weil’s clients;
                     and

                             d.     In providing a reimbursable service, Weil does not make a profit
                     on that service, whether the service is performed by Weil in-house or through a
                     third party.

                      4.        Pursuant to section B(2) of the Local Guidelines, and as required by the

  Interim Compensation Order, I certify that Weil has complied with provisions requiring it to

  provide counsel for the Statutory Creditors’ Committee (the “Creditors’ Committee”), the

  United States Trustee for the Southern District of New York (the “U.S. Trustee”), and the

  Debtors with a statement of Weil’s fees and disbursements accrued during the previous month,

  although such statements were not always provided within the exact timetables set forth in the

  Interim Compensation Order.

                      5.        Pursuant to section B(3) of the Local Guidelines, I certify that the

  Debtors, counsel for the Creditors’ Committee, and the U.S. Trustee are each being provided

  with a copy of the Application.

                      6.        Exhibit “B” to the Application compares the blended hourly rate billed

  by attorneys and paralegals in Weil’s New York office for the preceding 12-month period

  ending March 31, 2019 with the blended hourly rate billed by attorneys and paralegals to the

  Debtors in connection with their chapter 11 cases from October 15, 2018 through and including

  February 28, 2019.            Weil does not charge a premium for bankruptcy related services as

  compared to other services.

                      7.        In accordance with the UST Guidelines, Weil responds to the questions

  identified therein as follows:




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           Question 1: Did Weil agree to any variations from, or alternatives to, Weil's standard
           or customary billing rates, fees or terms for services pertaining to this engagement that
           were provided during the Compensation Period? If so, please explain.

           Answer:              No.

           Question 2: Are the fees sought in the Application higher by 10% or more as
           compared to the fees budgeted for the Compensation Period? If so, did Weil discuss the
           reasons for the variation with the client?

           Answer:              No.

           Question 3: Have any of the professionals included in the Application varied their
           hourly rate based on geographic location of the bankruptcy case?

           Answer:              No.

           Question 4: Does the Application include time or fees related to reviewing or revising
           time records or preparing, reviewing or revising invoices? If so, please quantify by hours
           and fees.

           Answer:        Any time expended for such matters during the Compensation Period is
           included within Task Code 028.

           Question 5: Does the Application include time or fees for reviewing time records to
           redact any privileged or other confidential information? If so, please quantify hours and
           fees.

           Answer:        Any time expended for such matters during the Compensation Period is
           included within Task Code 028.

           Question 6: Does the Application include any rate increases since Weil’s retention in
           this case? If so, did the client review and approve those rate increases in advance? Did
           the client agree when retaining the law firm to accept all future rate increases?

           Answer:              No.



 Dated: April 15, 2019
 New York, New York                                      /s/ Garrett A. Fail
                                                         Garrett A. Fail




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                                                   Exhibit B

            CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES

       Category of Timekeeper                              Blended Hourly Rate
                                        Billed by timekeepers in all
                                        domestic offices, excluding  Billed in this fee application
                                                           [1]
                                               bankruptcy
             Partner                             $1,174.00                     $1,375.00
            Counsel                               $932.00                      $1,050.00
  Senior Associate (7 years or
  more since first admission)                       $876.00                                $974.00
 Mid-level Associate (4-6 years
                                                    $793.00                                $905.00
     since first admission)
  Junior Associate (0-3 years
                                                    $584.00                                $659.00
     since first admission)
           Paralegal                                $300.00                                $354.00
              Other                                 $311.00                                $360.00
 All timekeepers aggregated                         $795.00                                $897.00




 [1]
    In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
 Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013, preceding year
 is a rolling 12 months year ending March 31, 2019; blended rates reflect work performed in preceding year in each
 of the domestic offices in which timekeepers collectively billed at least 10% of the hours to the case during the
 application period, excluding all data from bankruptcy law matters.


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                                            Exhibit C

                                      Budget for Fees and Expenses      Actual Fees & Expenses

      October 15, 2018 through                          $5,600,000.00             $5,143,981.83
          October 31, 2018
      November 1, 2018 through                      $10,400,000.00               $10,210,213.00
         November 30, 2018
      December 1, 2018 through                          $9,800,000.00             $8,166,754.83
         December 31, 2018
       January 1, 2019 through                      $12,700,000.00               $11,756,118.25
          January 31, 2019
      February 1, 2019 through                          $8,650,000.00             $7,000,988.66
          February 28, 2019
                                                    $47,150,000.00               $42,278,056.57




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                                            Exhibit D

 Weil discussed attorney staffing with the Debtors throughout the cases. Core teams of Business,
 Finance and Restructuring, Corporate, and Litigation attorneys were supplemented by specialists
 and additional resources as necessary to meet client needs under the changing circumstances of
 these cases.




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